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                                UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                            www.flsb.uscourts.gov
                                           CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                          1st Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                              Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Jaime Wong                                               JOINT DEBTOR:                                         CASE NO.:      15-19415-LMI

 Last Four Digits of SS#                     xxx-xx-1925                     Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay to
the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid to
the creditors pro-rata under the plan:
           A.      $         405.93    for months           1      to        60      ;
           B.      $                   for months                                    ;
           C.      $                   for months                                    ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                    0.00      TOTAL PAID $                          0.00



                             Balance Due                   $                     -NONE- payable $                       /month       (Months               to                 )


Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 1. Fountainview Association, Inc., #2            Arrearage on Petition Date                                              $
                  c/o Jorge E. Garcia, Registered
                  Agent
                  18805 N. Bay Rd.,                     Insurance Special Assessment
    Address:      North Miami Beach, FL 33160                                Payment $                                     8.33       /month (Months 1 to 60 )
                                                                          Club House Special Assessment Payment $   7.94              /month (Months 1 to 60 )
      Account No:                                                                               Regular Payment $ 196.75              /month (Months 1 to 60 )

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM
IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                                                 Description of Collateral                Interest            Plan Months of             Total Plan
             Secured Creditor                                                    and Value of Collateral                    Rate          Payments Payment               Payments
                                                     Location: 16801 NE 14th Avenue Apt 210, Miami FL                         0       0            0                 0
 Fountainview Association,                           33162
 Inc. #2                                             real property
 c/o its Registered Agent                            $42,760 value per Miami Dade County Property Appraiser
 Jorge E. Garcia
 18805 N. Bay Road
 North Miami Beach, FL 33160




Priority Creditors: [as defined in 11 U.S.C. §507]
 N/A

Unsecured Creditors: Pay $ 156.01 /month (Months 1 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:

*The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an annual basis
during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax
returns is on or before May 15 of each year the case is pending and that the debtor(s) shall provide the trustee with verification of their
disposable income if their gross household income increases by more than 3% over the previous year’s income.

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*The Debtor is paying his mortgage (to PHH Mortgage) directly to the creditor outside the plan.

*The debtor(s) will modify the plan to increase the amounts to be paid to provide for a 100% payment of all allowed unsecured claims.


I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

                        /s/
 Jaime Wong
 Debtor                                                                              Joint Debtor
 Date:       October 23, 2015                                                        Date:




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